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                    EXHIBIT 4
12/4/22, 2:25 PM    Case 4:22-cv-00561-RCC Injunction
                                            Document          30-5 Filed 03/23/23
                                                      | suneel@suneelchakravorty.com | Proton MailPage 2 of 9




 Mr. de la Garza,



 At this time our legal department has approved to facilitate a legal call with IM Raniere through the Mexican
 Consulate Ofﬁce. Please coordinated with the Consulate, and notify our ofﬁce so we can make proper
 arrangements. Thank you.



 From: Jorge A. de la Garza C. <jdelagarza@artilex.mx>
 Sent: Monday, July 25, 2022 10:37 AM
 To: Flores, Daniel (BOP) <d1ﬂores@bop.gov>
 Subject: [EXTERNAL] RE: Raniere visit




                                                                      001
https://mail.proton.me/u/1/3FazIMzh5vuAHKDfmyvlhX0RajMOiTI9CGzsdiDtQG000BAUwvhBXTDOkRuCTZ1dPGh0g3Y421Jd7UnW9_xGnA==/Mz-3MzOl1O…   1/4
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From: Joseph Daugherty
Sent: Monday, August 1, 2022 3:26 PM
To: Daniel Flores (Other)                       ; Thomas Ashworth (Other)
Cc: Watson, Scotty (BOP)                          ; Jorge A. de la Garza C.                           ; Joseph
Tully
Subject: Attorney Visit for Jorge de la Garza


Counselors Flores and Ashworth,

Attorney, Jorge de la Garza, is now working under Tully & Weiss Attorneys at Law. Mr. Garza’s law license
(cedula professional) and personal identiﬁcation (pasaporte) are attached. Mr. Garza’s license to practice law can
be veriﬁed by contacting the Secretaria de Educación Pública located at:

Republic of Argentina #28,
Historic Center, Mexico City. CP 06020
Telephone: (55) 36017599 Citizen
Service: (01800) 288 6688.
Service hours from 8:00 a.m. to 8:00 p.m. (CDT)
https://www.gob.mx/sep/es/#1195

We need to arrange a day and time for Mr. Garza to have an attorney visit to discuss the legal matters that Mr.
Garza was speciﬁcally retained to handle. When is the soonest date and time that we can schedule an attorney
visit with Mr. Raniere and Mr. Garza?

Very truly yours,


Joseph P. Daugherty
Joseph P. Daugherty
Tully & Weiss Attorneys at Law
Criminal Defense Attorney

                                                       002                                                        1/3
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                              005
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                                                      | suneel@suneelchakravorty.com | Proton MailPage 8 of 9




 The Warden has determined that a visit is not appropriate at this time. You may appeal the Warden's
 decision pursuant to 28 C.F.R. § 543.14(d).

 From: Jorge A. de la Garza C. <jdelagarza@artilex.mx>
 Sent: Sunday, August 7, 2022 11:40 AM
 To: Flores, Daniel (BOP) <d1ﬂores@bop.gov>
 Cc: Jose German Cavazos Treviño <german.cavazos@artilex.mx>; Alan Dershowitz <alandersh@gmail.com>;
 Marc Elliot <marcelliot.sfg@gmail.com>; Suneel Chakravorty <suneel@suneelchakravorty.com>
 Subject: [EXTERNAL] RE: Keith Raniere




 We will not be able to facilitate a visit between you and Mr. Raniere. The Warden has reviewed your request and
 determined that a visit is not appropriate at this time, based on the safety and security of the institution.



 From: Jorge A. de la Garza C. <jdelagarza@artilex.mx>
 Sent: Saturday, August 6, 2022 9:33 AM
 To: Flores, Daniel (BOP) <d1ﬂores@bop.gov>

                                                                      007
https://mail.proton.me/u/1/3FazIMzh5vuAHKDfmyvlhX0RajMOiTI9CGzsdiDtQG000BAUwvhBXTDOkRuCTZ1dPGh0g3Y421Jd7UnW9_xGnA==/oJkYCg9wh4…   1/2
12/4/22, 2:25 PM    Case 4:22-cv-00561-RCC Injunction
                                            Document          30-5 Filed 03/23/23
                                                      | suneel@suneelchakravorty.com | Proton MailPage 9 of 9

 Cc: Jose German Cavazos Treviño <german.cavazos@artilex.mx>; AlanDershowitz <alandersh@gmail.com>;
 Marc Elliot <marc@marcelliot.com>; Suneel Chakravorty (Other) <suneel@suneelchakravorty.com>; Joseph
 Tully <joseph@tully-weiss.com>; JosephDaugherty <Joseph.Daugherty@tully-weiss.com>
 Subject: [EXTERNAL] Keith Raniere

 Mr. Flores:


 Can you please respond to my emails regarding access for legal visits with Mr. Keith Raniere. Its been almost
 11 weeks that I have been trying to get this matter approved. I really don’t understand the opposition. The
 Mexican Consulate, as you suggested, cannot and will not intervene for a US citizen prisoner on my behalf. I
 have asked to speak to your legal team with no response. I have inquired about my involvement with the ﬁrm of
 Tully & Weiss ﬁrm with no response. Just no response at all. Do I have to go to court to get approval for legal
 visits? I just don’t understand the standing on this by BOP. I am now a sub-contracted attorney by the ﬁrm of
 Tully & Weiss for Mexican family legal matters of Mr. Raniere. This ﬁrm is approved by BOP for legal visits with
 Mr. Raniere. Is this enough? Please respond at least. No response means no will to help. If this is the case,
 please let me know. I enclose AGAIN my credentials. Thanks.




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https://mail.proton.me/u/1/3FazIMzh5vuAHKDfmyvlhX0RajMOiTI9CGzsdiDtQG000BAUwvhBXTDOkRuCTZ1dPGh0g3Y421Jd7UnW9_xGnA==/oJkYCg9wh4…   2/2
